Case 3:06-cr-00204-VMC-MCR Document 293 Filed 04/13/09 Page 1 of 5 PageID 1608




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

    UNITED STATES OF AMERICA
                                          Case No: 3:06-cr-204-J-33MCR
    v.

    LAURETTE C. HUNTER
    ________________________________/

                                      ORDER

            This   matter   comes   before     the     Court     pursuant   to

    Defendant’s      February   26,    2009,    motion         regarding    her

    restitution payments. (Doc. # 291-1).            The Government filed a

    response in opposition to the motion on April 2, 2009.

    I.      Background

            On February 22, 2007, this Court sentenced Defendant to

    62 months imprisonment, 36 months supervised release, and

    restitution of $1,688,701.72 (jointly and severally among co-

    defendants). (Doc. # 191).        This Court’s Judgment reflecting

    Defendant’s sentence was issued on February 22, 2009. (Doc. #

    196).    With respect to a drug treatment program, the Court’s

    Judgment recommended that “defendant be placed at FCI Jesup,

    Jesup Georgia [and] [t]hat defendant be evaluated for the

    substance program and that the Bureau of Prisons make a

    decision of what type of program defendant should be placed

    into.” (Doc. # 196 at 2). In addition, the Judgment provided,

    “While in Bureau of Prisons custody, you shall either (1) pay

    at least $25.00 quarterly if you have a non-Unicor job or (2)
Case 3:06-cr-00204-VMC-MCR Document 293 Filed 04/13/09 Page 2 of 5 PageID 1609




    pay at least 50% of your monthly earnings if you have a Unicor

    job.” (Doc. # 196 at 6).       These payments are referred to as

    the inmate financial responsibility program.

    II.   Defendant’s Motion for Sentence Modification

          Defendant requests that this Court enter an amended

    judgment that either defers her payments until the completion

    of her sentence or specifies that the maximum inmate financial

    responsibility program payment be $25.00 quarterly.

          Defendant indicates that she was able to pay the inmate

    financial responsibility program payments of $25.00 quarterly

    while   serving   her   sentence    at   F.P.C.   Marianna,   Florida.

    There, she earned between $42.00 and $64.00 monthly.            At one

    point, she was paying $25.00 monthly, rather than quarterly,

    due to her income.      However, Defendant submits that she was

    recently transferred from the Marianna facility to Alderson,

    West Virginia, where she makes only $14.00 monthly. Defendant

    explains that the new facility requires her to pay $79.00

    monthly and that she cannot make these payments, even with the

    support of her family.

          Defendant notes that she “takes pride” in making her

    payments and that she “is not trying to get out of paying the

    I.F.R.P. [inmate financial responsibility program] payment.”

    Instead, Defendant explains, “If I don’t make the $79.00



                                       -2-
Case 3:06-cr-00204-VMC-MCR Document 293 Filed 04/13/09 Page 3 of 5 PageID 1610




    monthly payments, I will receive an infraction; this will

    cause me to lose the opportunity to participate in the Drug

    Program.”

           The Government lauds Defendant on the positive changes

    that she has made in her life, particularly in the area of

    drug    rehabilitation.        However,     the    Government       opposes

    Defendant’s motion arguing: (1) Defendant has not provided

    evidence of exceptional circumstances as required by Rule

    60(b)(6)    of    the   Federal    Rules   of   Civil    Procedure;       (2)

    Defendant should have filed her motion in the United States

    District Court for the Southern District of West Virginia; (3)

    Defendant failed to exhaust her administrative remedies; and

    (4) Defendant will not be prejudiced by her decreased earnings

    at her new institution.

           As will be discussed below, it is not necessary for this

    Court to address the merits of each argument presented by the

    Government because Defendant’s motion has been filed in the

    wrong court.

    III. Analysis

           Defendant’s motion is brought pursuant to 28 U.S.C. §

    2241    because    Defendant      “challenges     the   execution    of    a

    sentence, rather than the validity of the sentence itself.”

    Bishop v. Reno, 210 F.3d 1295, 1304 n.14 (11th Cir. 2000). As



                                        -3-
Case 3:06-cr-00204-VMC-MCR Document 293 Filed 04/13/09 Page 4 of 5 PageID 1611




    Defendant is currently incarcerated at FPC Alderson, the

    United States District Court for the Southern District of West

    Virginia, rather than this Court, has jurisdiction over this

    matter.   See Braden v. 30th Judicial Circuit Court of Ky., 410

    U.S. 484, 494-495 (1973)(“The writ of habeas corpus does not

    act upon the prisoner who seeks relief, but upon the person

    who holds him in what is alleged to be unlawful custody.”);

    Fernandez v. United States, 941 F.2d 1488, 1495 (11th Cir.

    1991)(“Section 2241 petitions may be brought only in the

    district court for the district in which the inmate is

    incarcerated.”). Defendant’s motion should have been filed in

    the United States District Court for the Southern District of

    West Virginia.     Thus, this Court denies Defendant’s motion

    without prejudice.

          Accordingly, it is now

          ORDERED ADJUDGED and DECREED:

          Defendant’s letter addressed to this Court, which this

    Court construes a motion for a sentence modification (Doc. #

    291-1) is DENIED WITHOUT PREJUDICE.

          DONE and ORDERED in Jacksonville, Florida, this 13th day

    of April, 2009.




                                     -4-
Case 3:06-cr-00204-VMC-MCR Document 293 Filed 04/13/09 Page 5 of 5 PageID 1612




    Copies:

    Defendant
    AUSA
    BOP




                                     -5-
